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                                                                                                                                                EXHIBIT B

            Form 5500                                Annual Return/Report of Employee Benefit Plan                                                                                   OMB Nos. 1210-0110
                                                                                                                                                                                              1210-0089
                                                    This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury
                                                   and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
                                                       sections 6057(b) and 6058(a) of the Internal Revenue Code (the Code).
           Internal Revenue Service
                                                                                                                                                                                  2021
            Department of Labor                                            Complete all entries in accordance with
          Employee Benefits Security
               Administration                                                the instructions to the Form 5500.
    Pension Benefit Guaranty Corporation                                                                                                                            This Form is Open to Public
                                                                                                                                                                            Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2021 or fiscal plan year beginning 01/01/2021                                                               and ending        12/31/2021

A This return/report is for:                    X a multiemployer plan                              X a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                        participating employer information in accordance with the form instructions.)
                                                X
                                                X a single-employer plan                            X a DFE (specify)       _C_
B This return/report is:                        X the first return/report                           X the final return/report
                                                X an amended return/report                          X a short plan year return/report (less than 12 months)
C If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. X
D Check box if filing under:                    X Form 5558                             X automatic extension                                                       X the DFVC program
                                                X special extension (enter description) ABCDEFGHI ABCDE
E If this is a retroactively adopted plan permitted by SECURE Act section 201, check here. . . . . . . . . . . . . . . . . . . . . . . . . .. X
 Part II Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                           1b Three-digit plan
ABCDEFGHI     ABCDEFGHI
  JONES LANG LASALLE     ABCDEFGHI
                     GROUP            ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           BENEFITS PLAN                                                                                                                                     number (PN)           001
                                                                                                                                                                                                    501
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                     1c Effective date of plan
                                                                                                                                                                             YYYY-MM-DD
                                                                                                                                                                             07/01/1977
2a Plan sponsor’s name (employer, if for a single-employer plan)                                                                                                          2b Employer Identification
   Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                    Number (EIN)
   City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                    012345678
                                                                                                                                                                              XX-XXXXXXX
ABCDEFGHI       ABCDEFGHI
 JONES LANG LASALLE               ABCDEFGHI
                          AMERICAS,    INC.        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                2c Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                             number
ABCDEFGHI                                                                                                                                                                     0123456789
                                                                                                                                                                                 312-782-5800
c/o   ABCDEFGHI
 200 EAST RANDOLPHABCDEFGHI
                   STREET   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                             2d Business code (see
123456789     ABCDEFGHI ABCDEFGHI ABCDE
 CHICAGO, IL 60601                                                                                                                                                            instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                           012345
                                                                                                                                                                              531390
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN        Filed with authorized/valid electronic signature.                                      YYYY-MM-DD
                                                                                                   07/13/2022                ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                             CATHERINE SHEEDY
HERE
             Signature of plan administrator                                                       Date                      Enter name of individual signing as plan administrator


SIGN                                                                                               YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
             Signature of employer/plan sponsor                                                    Date                      Enter name of individual signing as employer or plan sponsor

SIGN                                                                                               YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                            Date                                                    Enter name of individual signing as DFE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                               Form 5500 (2021)
                                                                                                                                                                                             v. 210624
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             Form 5500 (2021)                                                                                                         Page 2
3a Plan administrator’s name and address X Same as Plan Sponsor                                                                                                                            3b Administrator’s EIN
                                                                                                                                                                                              012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                      3c Administrator’s telephone
c/o ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                         number
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                               0123456789
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK
4 If the name and/or EIN of the plan sponsor or the plan name has changed since the last return/report filed for this plan,                                                                4b EIN012345678
      enter the plan sponsor’s name, EIN, the plan name and the plan number from the last return/report:
 a    Sponsor’s name                                                                                                                                                                       4d PN
 c    Plan Name                                                                                                                                                                               012

5     Total number of participants at the beginning of the plan year                                                                                                                         5                     28110
                                                                                                                                                                                                           123456789012
6     Number of participants as of the end of the plan year unless otherwise stated (welfare plans complete only lines 6a(1),
      6a(2), 6b, 6c, and 6d).

 a(1) Total number of active participants at the beginning of the plan year............................................................................... 6a(1)                                                   28110

 a(2) Total number of active participants at the end of the plan year ...................................................................................... 6a(2)                                                 30625


 b Retired or separated participants receiving benefits.............................................................................................................                        6b                        0
                                                                                                                                                                                                           123456789012

 c Other retired or separated participants entitled to future benefits .........................................................................................                            6c                        0
                                                                                                                                                                                                           123456789012

 d Subtotal. Add lines 6a(2), 6b, and 6c. ..................................................................................................................................                6d                     30625
                                                                                                                                                                                                           123456789012

 e Deceased participants whose beneficiaries are receiving or are entitled to receive benefits. ...............................................                                             6e             123456789012

 f Total. Add lines 6d and 6e. .................................................................................................................................................             6f            123456789012

 g Number of participants with account balances as of the end of the plan year (only defined contribution plans
        complete this item) ............................................................................................................................................................    6g             123456789012

 h Number of participants who terminated employment during the plan year with accrued benefits that were
   less than 100% vested ........................................................................................................................................................ 6h 123456789012
7 Enter the total number of employers obligated to contribute to the plan (only multiemployer plans complete this item) ........ 7                                                              0
8a If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan Characteristics Codes in the instructions:


 b If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan Characteristics Codes in the instructions:
      4A      4B       4D     4E      4F      4H       4L      4Q

9a Plan funding arrangement (check all that apply)                              9b Plan benefit arrangement (check all that apply)
   (1)     X Insurance                                                               (1)      X Insurance
   (2)     X Code section 412(e)(3) insurance contracts                              (2)      X Code section 412(e)(3) insurance contracts
   (3)     X Trust                                                                   (3)      X Trust
   (4)     X General assets of the sponsor                                           (4)      X General assets of the sponsor
10 Check all applicable boxes in 10a and 10b to indicate which schedules are attached, and, where indicated, enter the number attached. (See instructions)
    a Pension Schedules                                                                                                    b General Schedules
      (1)    X R (Retirement Plan Information)                                                                               (1)     X       H (Financial Information)
                                                                                                                                (2)           X              I (Financial Information – Small Plan)
      (2)          X      MB (Multiemployer Defined Benefit Plan and Certain Money
                          Purchase Plan Actuarial Information) - signed by the plan                                             (3)           X     13 A (Insurance Information)
                                                                                                                                                    ___
                          actuary                                                                                               (4)           X              C (Service Provider Information)

      (3)          X      SB (Single-Employer Defined Benefit Plan Actuarial                                                    (5)           X              D (DFE/Participating Plan Information)
                          Information) - signed by the plan actuary                                                             (6)           X              G (Financial Transaction Schedules)
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           Form 5500 (2021)                                                                  Page 3


Part III Form M-1 Compliance Information (to be completed by welfare benefit plans)
11a If the plan provides welfare benefits, was the plan subject to the Form M-1 filing requirements during the plan year? (See instructions and 29 CFR
     2520.101-2.) ........................………..…. X   Yes   X   No

     If “Yes” is checked, complete lines 11b and 11c.

11b Is the plan currently in compliance with the Form M-1 filing requirements? (See instructions and 29 CFR 2520.101-2.) ……..... X Yes X No
11c Enter the Receipt Confirmation Code for the 2021 Form M-1 annual report. If the plan was not required to file the 2021 Form M-1 annual report, enter the
     Receipt Confirmation Code for the most recent Form M-1 that was required to be filed under the Form M-1 filing requirements. (Failure to enter a valid
     Receipt Confirmation Code will subject the Form 5500 filing to rejection as incomplete.)

     Receipt Confirmation Code______________________
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI ABCDEFGHI
UNITEDHEALTHCARE        ABCDEFGHI
                 INSURANCE COMPANY                        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       79413           712525                                           5424                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
                                                                                                                                                            v. 201209
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       Schedule A (Form 5500) 2021                                                 Page 2 – 1 1 x

                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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          Schedule A (Form 5500) 2021                                                                                       Page 3

 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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            Schedule A (Form 5500) 2021                                                                                     Page 4


 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  1048309
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                       File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                      pursuant to ERISA section 103(a)(2).                                    Inspection
For calendar plan year 2021 or fiscal plan year beginning         01/01/2021                                 and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN         ABCDEFGHI
                              OF THE MID-ATLANTIC                            ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                      Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                       persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                       95639           22582                                              485                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                               YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  2053348
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                       File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                      pursuant to ERISA section 103(a)(2).                                    Inspection
For calendar plan year 2021 or fiscal plan year beginning         01/01/2021                                 and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN         ABCDEFGHI
                              OF THE NORTHWEST                               ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                      Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                       persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                       95540           18869                                              300                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                               YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  1334298
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                 Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                      This schedule is required to be filed under section 104 of the
         Internal Revenue Service                       Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                        File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                     This Form is Open to Public
                                                                     pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning          01/01/2021                                 and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN OF HAWAIIABCDEFGHI                            ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                       (e) Approximate number of                      Policy or contract year
                                     (c) NAIC              (d) Contract or
         (b) EIN                                                                        persons covered at end of
                                       code             identification number                                                  (f) From                    (g) To
                                                                                          policy or contract year
XX-XXXXXXX                       60053           5900                                                 57                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                                YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                        (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                   0
                                                                                                                                                 123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                 Fees and other commissions paid
        commissions paid                                (c) Amount                                         (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                  ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                 Fees and other commissions paid
        commissions paid                                (c) Amount                                         (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                  ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                    Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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          Schedule A (Form 5500) 2021                                                                                       Page 3

 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  259642
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                              -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                       File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                      pursuant to ERISA section 103(a)(2).                                    Inspection
For calendar plan year 2021 or fiscal plan year beginning         01/01/2021                                 and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN        ABCDEFGHI
                              OF COLORADO                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                      Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                       persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                       95669           35639                                              211                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                               YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  943255
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                              -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                       File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                      pursuant to ERISA section 103(a)(2).                                    Inspection
For calendar plan year 2021 or fiscal plan year beginning         01/01/2021                                 and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN        ABCDEFGHI
                              OF GEORGIA                                     ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                      Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                       persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                       96237           10213                                              535                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                               YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                       (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
                                                                                                                                                            v. 201209
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  2170761
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                       OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                    2021
           Department of Labor
  Employee Benefits Security Administration                       File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                     This Form is Open to Public
                                                                      pursuant to ERISA section 103(a)(2).                                     Inspection
For calendar plan year 2021 or fiscal plan year beginning         01/01/2021                                  and ending      12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
HAWAII MEDICALABCDEFGHI   ABCDEFGHI
               SERVICE ASSOCIATION                        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                      (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                       persons covered at end of
                                       code           identification number                                                    (f) From                    (g) To
                                                                                         policy or contract year
XX-XXXXXXX                       49948           23370                                                82                 01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                                YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                        (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                   0
                                                                                                                                                 123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                        (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                Fees and other commissions paid
        commissions paid                                 (c) Amount                                        (d) Purpose                              (e) Organization code
     -123456789012345                           -123456789012345                 ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                    Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  608706
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                              -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
AETNA         ABCDEFGHI
      LIFE INSURANCE     ABCDEFGHI
                     COMPANY                              ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       60054           620552                                             46                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                               5198
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI
WILLIS TOWERSABCDEFGHI   ABCDEFGHI
              WATSON US LLC   ABCDE     LOCKBOX 28852
123456789 ABCDEFGHI ABCDEFGHI ABCDE     NEW YORK, NY 10087
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345 0                         -123456789012345   ABCDEFGHI
                                                              5198 PPP 1Q21, 2Q21,ABCDEFGHI
                                                                                   3Q21 BONUS ABCDEFGHI                                                   3 1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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            Schedule A (Form 5500) 2021                                                                                     Page 4


 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ACCIDENTAL
                            ABCDEFGHI   ABCDEFGHI
                                      DEATH          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                            AND DISMEMBERMENT
                            ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  309889
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                              -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
VISION SERVICEABCDEFGHI
               PLAN                        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       12516           12103209                                        13746                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
                                                                                                                                                            v. 201209
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       Schedule A (Form 5500) 2021                                                 Page 2 – 1 1 x

                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  2328533
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                 Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                      This schedule is required to be filed under section 104 of the
         Internal Revenue Service                       Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                        File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                     This Form is Open to Public
                                                                     pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning          01/01/2021                                and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
COMPSYCH   ABCDEFGHI
         CORPORATION                       ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                       (e) Approximate number of                      Policy or contract year
                                     (c) NAIC              (d) Contract or
         (b) EIN                                                                        persons covered at end of
                                       code             identification number                                                  (f) From                    (g) To
                                                                                          policy or contract year
XX-XXXXXXX                       00000           1111                                             30625                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                     1234567                                YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                       (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                   0
                                                                                                                                                 123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                 Fees and other commissions paid
        commissions paid                                (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                  ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                                 Fees and other commissions paid
        commissions paid                                (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                  ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                 1
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                    Schedule A (Form 5500) 2021
                                                                                                                                                             v. 201209
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  EMPLOYEE
                            ABCDEFGHI   ABCDEFGHI
                                    ASSISTANCE     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                               PROGRAM
                            ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  428168
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                              -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI ABCDEFGHI
METROPOLITAN             ABCDEFGHI
             LIFE INSURANCE COMPANY                       ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       65978           105710                                          39642                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                 71
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
 ABCDEFGHI
LOCKTON     ABCDEFGHI
        COMPANIES,  ABCDEFGHI ABCDE
                   LLC                  PO BOX 123042
123456789 ABCDEFGHI ABCDEFGHI ABCDE     DALLAS, TX 75312
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345 0                         -12345678901234571 NON-MONETARY
                                                                   ABCDEFGHI ABCDEFGHI    ABCDEFGHI
                                                                                COMPENSATION                                                              3 1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
                                                                                                                                                            v. 201209
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ACCIDENTAL
                            ABCDEFGHI   ABCDEFGHI
                                      DEATH          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                            AND DISMEMBERMENT
                            ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  8981889
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
 ABCDEFGHI
LINCOLN      ABCDEFGHI
        NATIONAL           ABCDEFGHI
                 LIFE INSURANCE       ABCDEFGHI
                                COMPANY                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       65675           GF384044147101                                  28527                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                              112979
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI
WILLIS TOWERSABCDEFGHI   ABCDEFGHI
              WATSON US LLC   ABCDE     200 LIBERTY STREET, SUITE F16
123456789 ABCDEFGHI ABCDEFGHI ABCDE     NEW YORK, NY 10281
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345   ABCDEFGHI ABCDEFGHI
                                                            112979 SUPPLEMENTAL           ABCDEFGHI
                                                                                COMPENSATION                                                              3 1
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       123456789012345
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                  6952960
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
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        SCHEDULE A                                                Insurance Information                                                      OMB No. 1210-0110
           (Form 5500)
        Department of the Treasury                     This schedule is required to be filed under section 104 of the
         Internal Revenue Service                      Employee Retirement Income Security Act of 1974 (ERISA).                                   2021
           Department of Labor
  Employee Benefits Security Administration                      File as an attachment to Form 5500.
    Pension Benefit Guaranty Corporation
                                                      Insurance companies are required to provide the information                    This Form is Open to Public
                                                                    pursuant to ERISA section 103(a)(2).                                      Inspection
For calendar plan year 2021 or fiscal plan year beginning        01/01/2021                                 and ending       12/31/2021
A Name of plan                                                           B Three-digit
ABCDEFGHI      ABCDEFGHI
 JONES LANG LASALLE    GROUPABCDEFGHI
                               BENEFITS PLAN   ABCDEFGHI ABCDEFGHI ABCDE    plan number (PN)               501        001
FGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI
C Plan sponsor’s name as shown on line 2a of Form 5500                   D Employer Identification Number (EIN)
ABCDEFGHI      ABCDEFGHI
JONES LANG LASALLE           ABCDEFGHI
                       AMERICAS,   INC.        ABCDEFGHI ABCDEFGHI ABCDE    012345678
                                                                             XX-XXXXXXX
FGHI ABCDEFGHI
  Part I     Information Concerning Insurance Contract Coverage, Fees, and Commissions Provide information for each contract
                 on a separate Schedule A. Individual contracts grouped as a unit in Parts II and III can be reported on a single Schedule A.
1 Coverage Information:
(a) Name of insurance carrier
ABCDEFGHI
KAISER      ABCDEFGHI
       FOUNDATION        ABCDEFGHI
                  HEALTH PLAN INC                         ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI

                                                                                     (e) Approximate number of                       Policy or contract year
                                     (c) NAIC            (d) Contract or
         (b) EIN                                                                      persons covered at end of
                                       code           identification number                                                   (f) From                    (g) To
                                                                                        policy or contract year
XX-XXXXXXX                       00000           603401                                           2771                  01/01/2021                 12/31/2021
012345678                         ABCDE          ABCDE0123456789                   1234567                                 YYYY-MM-DD                YYYY-MM-DD
2 Insurance fee and commission information. Enter the total fees and total commissions paid. List in line 3 the agents, brokers, and other persons in
  descending order of the amount paid.
                   (a) Total amount of commissions paid                                                      (b) Total amount of fees paid
                                                         0
                                                   123456789012345                                                                                  0
                                                                                                                                                123456789012345
3 Persons receiving commissions and fees. (Complete as many entries as needed to report all persons).
                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE

                                     (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
   (b) Amount of sales and base                                               Fees and other commissions paid
        commissions paid                               (c) Amount                                        (d) Purpose                               (e) Organization code
     -123456789012345                           -123456789012345                ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                  1
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                   Schedule A (Form 5500) 2021
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                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                          (a) Name and address of the agent, broker, or other person to whom commissions or fees were paid
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITY56789 ABCDEFGHI AB, ST 021345678901
                                                                  Fees and other commissions paid                                (e)
 (b) Amount of sales and base                                                                                                Organization
      commissions paid                      (c) Amount                                        (d) Purpose                       code
  -123456789012345                   -123456789012345               ABCDEFGHI ABCDEFGHI ABCDEFGHI                                 1
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI
                                                                    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
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          Schedule A (Form 5500) 2021                                                                                       Page 3

 Part II         Investment and Annuity Contract Information
             Where individual contracts are provided, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of
             this report.
4 Current value of plan’s interest under this contract in the general account at year end ............................................... 4 123456789012345
5 Current value of plan’s interest under this contract in separate accounts at year end.................................................. 5 123456789012345
6 Contracts With Allocated Funds:
  a State the basis of premium rates 

   b     Premiums paid to carrier ....................................................................................................................................       6b     -123456789012345
   c     Premiums due but unpaid at the end of the year ................................................................................................                     6c     -123456789012345
   d     If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or
                                                                                                                                                                             6d     -123456789012345
         retention of the contract or policy, enter amount. ................................................................................................
         Specify nature of costs 


   e     Type of contract: (1) X individual policies                                  (2) X group deferred annuity
         (3) X other (specify)              

   f If contract purchased, in whole or in part, to distribute benefits from a terminating plan, check here   X
7 Contracts With Unallocated Funds (Do not include portions of these contracts maintained in separate accounts)
  a Type of contract:       (1) X deposit administration             (2) X immediate participation guarantee
                            (3) X guaranteed investment              (4) X other 



   b     Balance at the end of the previous year ............................................................................................................. 7b                    123456789012345
   c     Additions: (1) Contributions deposited during the year ...............................             7c(1)                   -123456789012345
         (2) Dividends and credits.............................................................................           7c(2)                 -123456789012345
         (3) Interest credited during the year.............................................................               7c(3)                 -123456789012345
         (4) Transferred from separate account ........................................................                   7c(4)                 -123456789012345
         (5) Other (specify below) .............................................................................          7c(5)                 -123456789012345
        


       (6)Total additions ............................................................................................................................................... 7c(6)      123456789012345
    d Total of balance and additions (add lines 7b and 7c(6)). .....................................................................................                       7d        123456789012345
    e Deductions:
      (1) Disbursed from fund to pay benefits or purchase annuities during year                                        7e(1)                   -123456789012345
      (2) Administration charge made by carrier ....................................................                   7e(2)                   -123456789012345
      (3) Transferred to separate account .............................................................                7e(3)                   -123456789012345
      (4) Other (specify below) ..............................................................................         7e(4)                   -123456789012345
        


        (5) Total deductions ............................................................................................................................................   7e(5)    123456789012345
    f    Balance at the end of the current year (subtract line 7e(5) from line 7d) .............................................................                             7f      123456789012345
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            Schedule A (Form 5500) 2021                                                                                     Page 4


 Part III          Welfare Benefit Contract Information
                   If more than one contract covers the same group of employees of the same employer(s) or members of the same employee organizations(s),
                   the information may be combined for reporting purposes if such contracts are experience-rated as a unit. Where contracts cover individual
                   employees, the entire group of such individual contracts with each carrier may be treated as a unit for purposes of this report.
8 Benefit and contract type (check all applicable boxes)
  a X Health (other than dental or vision)               b X Dental                                                             c X Vision                                           d X Life insurance
  e X Temporary disability (accident and sickness) f X Long-term disability                                                     g X Supplemental unemployment                        h X Prescription drug
  i X Stop loss (large deductible)                       j X HMO contract                                                       k X PPO contract                                     l X Indemnity contract
     m X Other (specify)  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           ABCKEFGHI ABCDEFGHI ABCDEFGHI ABCDE
9 Experience-rated contracts:
  a Premiums: (1) Amount received ................................................................                      9a(1)                  -123456789012345
           (2) Increase (decrease) in amount due but unpaid ...................................                         9a(2)                  -123456789012345
           (3) Increase (decrease) in unearned premium reserve .............................                            9a(3)                  -123456789012345
           (4) Earned ((1) + (2) - (3)) .................................................................................................................................. 9a(4)       1234567890123450
      b     Benefit charges (1) Claims paid...............................................................              9b(1)                    -123456789012345
           (2) Increase (decrease) in claim reserves.................................................                    9b(2)                    -123456789012345
           (3) Incurred claims (add (1) and (2)) ................................................................................................................        9b(3)         123456789012345
           (4) Claims charged .......................................................................................................................................... 9b(4)         123456789012345
      c     Remainder of premium: (1) Retention charges (on an accrual basis) --                                                                  -123456789012345
                 (A) Commissions ............................................................................... 9c(1)(A)                          -123456789012345
                 (B) Administrative service or other fees ............................................. 9c(1)(B)                                   -123456789012345
                 (C) Other specific acquisition costs .................................................... 9c(1)(C)                                -123456789012345
                 (D) Other expenses ........................................................................... 9c(1)(D)                           -123456789012345
                 (E) Taxes........................................................................................... 9c(1)(E)                     -123456789012345
                 (F) Charges for risks or other contingencies ...................................... 9c(1)(F)                                      -123456789012345
                 (G) Other retention charges ............................................................... 9c(1)(G)                              -123456789012345
                 (H) Total retention..................................................................................................................................... 9c(1)(H)     123456789012345
           (2) Dividends or retroactive rate refunds. (These amounts were X paid in cash, or X credited.)..................                                            9c(2)           123456789012345
      d Status of policyholder reserves at end of year: (1) Amount held to provide benefits after retirement ...............                                           9d(1)           123456789012345
      (2) Claim reserves ..........................................................................................................................................    9d(2)           123456789012345
      (3) Other reserves ..........................................................................................................................................    9d(3)           123456789012345
   e Dividends or retroactive rate refunds due. (Do not include amount entered in line 9c(2).) ..............................                                           9e             123456789012345
10 Nonexperience-rated contracts:
   a Total premiums or subscription charges paid to carrier ...................................................................................                         10a            123456789012345
                                                                                                                                                                                                 12153280
      b If the carrier, service, or other organization incurred any specific costs in connection with the acquisition or                                                                               -
         retention of the contract or policy, other than reported in Part I, line 2 above, report amount. .........................                                     10b            123456789012345
     Specify nature of costs.
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCD
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 Part IV     Provision of Information
11 Did the insurance company fail to provide any information necessary to complete Schedule A? ............. X Yes X No
12 If the answer to line 11 is “Yes,” specify the information not provided. 
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
   ABCDEFGHI ABCDE
DocuSign Envelope ID: 167CB28F-C5C3-48C3-8178-692DD3E1AA1E
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             Form 5500                                Annual Return/Report of Employee Benefit Plan                                                                                   OMB Nos. 1210-0110
                                                                                                                                                                                               1210-0089
                                                     This form is required to be filed for employee benefit plans under sections 104
           Department of the Treasury
                                                    and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
                                                        sections 6057(b) and 6058(a) of the Internal Revenue Code (the Code).
            Internal Revenue Service
                                                                                                                                                                                   2021
             Department of Labor                                            Complete all entries in accordance with
           Employee Benefits Security
                Administration                                                the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation                                                                                                                            This Form is Open to Public
                                                                                                                                                                             Inspection
  Part I         Annual Report Identification Information
 For calendar plan year 2021 or fiscal plan year beginning 01/01/2021                                                               and ending        12/31/2021

 A This return/report is for:                    X a multiemployer plan                              X a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                         participating employer information in accordance with the form instructions.)
                                                 X
                                                 X a single-employer plan                            X a DFE (specify)       _C_
 B This return/report is:                        X the first return/report                           X the final return/report
                                                 X an amended return/report                          X a short plan year return/report (less than 12 months)
 C If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. X
 D Check box if filing under:                    X Form 5558                             X automatic extension                                                       X the DFVC program
                                                 X special extension (enter description) ABCDEFGHI ABCDE
 E If this is a retroactively adopted plan permitted by SECURE Act section 201, check here. . . . . . . . . . . . . . . . . . . . . . . . . .. X
  Part II Basic Plan Information—enter all requested information
 1a Name of plan                                                                                                                                                           1b Three-digit plan
 ABCDEFGHI     ABCDEFGHI
  JONES LANG LASALLE GROUPABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
                           BENEFITS PLAN                                                                                                                                      number (PN)           001
                                                                                                                                                                                                     501
 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                     1c Effective date of plan
                                                                                                                                                                              YYYY-MM-DD
                                                                                                                                                                              07/01/1977
 2a Plan sponsor’s name (employer, if for a single-employer plan)                                                                                                          2b Employer Identification
    Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                    Number (EIN)
    City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                    012345678
                                                                                                                                                                               XX-XXXXXXX
 ABCDEFGHI       ABCDEFGHI
  JONES LANG LASALLE               ABCDEFGHI
                           AMERICAS,    INC.        ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                2c Plan Sponsor’s telephone
 D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                             number
 ABCDEFGHI                                                                                                                                                                     0123456789
                                                                                                                                                                                  312-782-5800
 c/o   ABCDEFGHI
  200 EAST RANDOLPHABCDEFGHI
                    STREET   ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                             2d Business code (see
  CHICAGO, IL 60601
 123456789     ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                       instructions)
 123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                           012345
                                                                                                                                                                               531390
 CITYEFGHI ABCDEFGHI AB, ST 012345678901
 UK

 Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
 Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
 statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.

                                                                                                        7/13/2022               Catherine Sheedy
 SIGN                                                                                               YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 HERE
              Signature of plan administrator                                                       Date                      Enter name of individual signing as plan administrator


 SIGN                                                                                               YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 HERE
              Signature of employer/plan sponsor                                                    Date                      Enter name of individual signing as employer or plan sponsor

 SIGN                                                                                               YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 HERE
          Signature of DFE                                            Date                                                    Enter name of individual signing as DFE
 For Paperwork Reduction Act Notice, see the Instructions for Form 5500.                                                                                                               Form 5500 (2021)
                                                                                                                                                                                              v. 210624
DocuSign Envelope ID: 167CB28F-C5C3-48C3-8178-692DD3E1AA1E
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              Form 5500 (2021)                                                                                                         Page 2
 3a Plan administrator’s name and address X Same as Plan Sponsor                                                                                                                            3b Administrator’s EIN
                                                                                                                                                                                               012345678
 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                      3c Administrator’s telephone
 c/o ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                         number
 123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                               0123456789
 123456789 ABCDEFGHI ABCDEFGHI ABCDE
 CITYEFGHI ABCDEFGHI AB, ST 012345678901
 UK
 4 If the name and/or EIN of the plan sponsor or the plan name has changed since the last return/report filed for this plan,                                                                4b EIN012345678
       enter the plan sponsor’s name, EIN, the plan name and the plan number from the last return/report:
  a    Sponsor’s name                                                                                                                                                                       4d PN
  c    Plan Name                                                                                                                                                                               012

 5     Total number of participants at the beginning of the plan year                                                                                                                         5                     28110
                                                                                                                                                                                                            123456789012
 6     Number of participants as of the end of the plan year unless otherwise stated (welfare plans complete only lines 6a(1),
       6a(2), 6b, 6c, and 6d).

  a(1) Total number of active participants at the beginning of the plan year............................................................................... 6a(1)                                                   28110

  a(2) Total number of active participants at the end of the plan year ...................................................................................... 6a(2)                                                 30625


  b Retired or separated participants receiving benefits.............................................................................................................                        6b                        0
                                                                                                                                                                                                            123456789012

  c Other retired or separated participants entitled to future benefits .........................................................................................                            6c                        0
                                                                                                                                                                                                            123456789012

  d Subtotal. Add lines 6a(2), 6b, and 6c. ..................................................................................................................................                6d                     30625
                                                                                                                                                                                                            123456789012

  e Deceased participants whose beneficiaries are receiving or are entitled to receive benefits. ...............................................                                             6e             123456789012

  f Total. Add lines 6d and 6e. .................................................................................................................................................             6f            123456789012

  g Number of participants with account balances as of the end of the plan year (only defined contribution plans
         complete this item) ............................................................................................................................................................    6g             123456789012

  h Number of participants who terminated employment during the plan year with accrued benefits that were
    less than 100% vested ........................................................................................................................................................ 6h 123456789012
 7 Enter the total number of employers obligated to contribute to the plan (only multiemployer plans complete this item) ........ 7
 8a If the plan provides pension benefits, enter the applicable pension feature codes from the List of Plan Characteristics Codes in the instructions:


  b If the plan provides welfare benefits, enter the applicable welfare feature codes from the List of Plan Characteristics Codes in the instructions:
       4A      4B       4D     4E      4F      4H       4L      4Q

 9a Plan funding arrangement (check all that apply)                              9b Plan benefit arrangement (check all that apply)
    (1)     X Insurance                                                               (1)      X Insurance
    (2)     X Code section 412(e)(3) insurance contracts                              (2)      X Code section 412(e)(3) insurance contracts
    (3)     X Trust                                                                   (3)      X Trust
    (4)     X General assets of the sponsor                                           (4)      X General assets of the sponsor
 10 Check all applicable boxes in 10a and 10b to indicate which schedules are attached, and, where indicated, enter the number attached. (See instructions)
     a Pension Schedules                                                                                                    b General Schedules
       (1)    X R (Retirement Plan Information)                                                                               (1)     X       H (Financial Information)
                                                                                                                                 (2)           X              I (Financial Information – Small Plan)
       (2)          X      MB (Multiemployer Defined Benefit Plan and Certain Money
                           Purchase Plan Actuarial Information) - signed by the plan                                             (3)           X ___
                                                                                                                                                 13 A (Insurance Information)
                           actuary                                                                                               (4)           X              C (Service Provider Information)

       (3)          X      SB (Single-Employer Defined Benefit Plan Actuarial                                                    (5)           X              D (DFE/Participating Plan Information)
                           Information) - signed by the plan actuary                                                             (6)           X              G (Financial Transaction Schedules)




 4Q REPRESENTS EMPLOYEE ASSISTANCE PROGRAM.
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            Form 5500 (2021)                                                                  Page 3


 Part III Form M-1 Compliance Information (to be completed by welfare benefit plans)
 11a If the plan provides welfare benefits, was the plan subject to the Form M-1 filing requirements during the plan year? (See instructions and 29 CFR
      2520.101-2.) ........................………..…. X   Yes   X   No

      If “Yes” is checked, complete lines 11b and 11c.

 11b Is the plan currently in compliance with the Form M-1 filing requirements? (See instructions and 29 CFR 2520.101-2.) ……..... X Yes X No
 11c Enter the Receipt Confirmation Code for the 2021 Form M-1 annual report. If the plan was not required to file the 2021 Form M-1 annual report, enter the
      Receipt Confirmation Code for the most recent Form M-1 that was required to be filed under the Form M-1 filing requirements. (Failure to enter a valid
      Receipt Confirmation Code will subject the Form 5500 filing to rejection as incomplete.)

      Receipt Confirmation Code______________________
